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                                         U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007

                                                    January 31, 2017

By ECF

The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse, Room 2201
40 Centre Street
New York, New York 10007

           Re:    United States v. Alonzo Knowles
                  16 Cr. 00005 (PAE)

Dear Judge Engelmayer:

   The Government writes to inform the Court that it will not be seeking restitution in the
above-referenced case.

                                                 Very truly yours,

                                                 PREET BHARARA
                                                 United States Attorney


                                             by: /s/ Kristy J. Greenberg
                                                 Kristy J. Greenberg
                                                 Assistant United States Attorney
                                                 (212) 637-2469


cc:    Clay Kaminsky, Esq. (by ECF)




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